Fill in this information to identify the case:
Debtor 1               KIRK LESLIE MORRISON

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the   Eastern District of Michigan

Case Number            16-31291




Official Form 410S1
Notice of Mortgage Payment Change                                                                                            12/15

If the debtor’s plan provides for payment of post-petition contractual installments on your claim secured by a security interest in
the debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File
this form as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule
3002.1.



                                                                                         Court Claim no. (If known): 1
 Name of Creditor: MTGLQ Investors, L.P.
                                                                                         Date of Payment change: 07/01/2018
                                                                                         Must be at least 21 days after
                                                                                         date of this notice.
  Last 4 digits of any number you use
  to identify the debtor’s account: 1270                                                 New total payment:                  $ 684.30
                                                                                          Principal, interest and escrow, if any



Part 1:           Escrow Account Payment Adjustment
  1. Will there be a change in the debtor’s escrow account payment?
   No
   Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable non-bankruptcy law.
  Describe the basis for the change. If a statement is not attached, explain why:


    Current escrow payment: $ 324.92                                    New escrow payment: $ 337.35

Part 2:                Mortgage Payment Adjustment
 2. Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the
   debtor's variable-rate account?
 No
 Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable non-bankruptcy law. If a
   notice is not attached, explain why:
 Current interest rate: %                                                  New interest rate: %

Current Principal and interest payment: $                                  New Principal and interest payment: $


Part 3:               Other Payment Change
 3. Will there be a change in the debtor’s mortgage payment for a reason not listed above?
 No

 Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan
 modification agreement. (Court approval may be required before the payment change can take effect.)
  Reason for change:                                                                                                                    _
 Current Mortgage payment: $                                                New Mortgage payment: $




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Debtor 1         KIRK LESLIE MORRISON                                                        Case number (if known) 16-31291
                        First Name         Middle Name            Last Name




 Part 4:                Sign here

  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
  telephone number.
  Check the appropriate box.

          I am the creditor.

          I am the creditor’s authorized agent.

  I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
  knowledge, information, and reasonable belief.

  X /s/ Ashish Rawat                                                                                   Date: 06/04/2018
       Signature




  Print: Ashish Rawat                                                                                  Title: Claims Processor
           First Name    Middle Name   Last Name




  Company           AIS Portfolio Services, LP                                           _




  Address           P.O. Box 201347
                         Number               Street

                    Arlington                TX                 76006
                    City                           State                      ZIP Code


  Contact Phone          ((888) 455-6662                   )                                   Email




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                                     UNITED STATES BANKRUPTCY COURT
                                      EASTERN DISTRICT OF MICHIGAN
                                              FLINT DIVISION

     Case       KIRK LESLIE MORRISON                             )     Case No.      16-31291
     Name:                                                       )     Judge:        Daniel S. Opperman.Flint
                                                                 )     Chapter:      13
                    Debtor(s).                                   )


                                        CERTIFICATE OF SERVICE

PLEASE BE ADVISED that on 06/04/2018 (the “Notice Date”), pursuant to Federal Rule of Bankruptcy
Procedure 3002.1(b)(the “Bankruptcy Rules”), MTGLQ Investors, L.P. filed a Notice of Change of Mortgage Payment
(the “Notice”). The Notice was filed due to a post-bankruptcy change of payment on the Debtor’(s) principal place
of residence. A copy of the Notice is attached hereto.

The filing of this Notice, via the Court’s Electronic Filing system, constitutes service upon the Chapter 13
Trustee and counsel for the Debtor(s), pursuant to Bankruptcy Rule 3002.1 and any and all applicable
Bankruptcy Rules.

I hereby certify that on 06/04/2018 a copy of the Notice was served upon the Debtor(s) on the Notice Date,
at the address listed below, by First Class U.S. Mail, postage prepaid.

Debtor:
            KIRK LESLIE MORRISON
            551 S. KELLOGG,
            HOWELL, MI 48843


I hereby certify that on 06/04/2018 a copy of this Notice and all attachments on the following by
Electronic Notification via CM/ECF and/or other Electronic Notification:

Trustee:
           CARL BEKOFSKE
           400 N SAGINAW STREET, SUITE 331
           FLINT, MI 48502

Debtor's counsel:
           SIMEN FIGURA & PARKER
           PETER T MOONEY
           5206 GATEWAY CENTRE #200,
           FLINT, MI 48507
All Parties in Interest
All Parties requesting Notice

                                     By: /s/ Ashish Rawat
                                         Ashish Rawat, AIS Portfolio Services, LP.
                                         Authorized Agent for Shellpoint Mortgage Servicing




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                                                                     Shellpoint Mortgage Servicing                                                                      Final
                                                                     55 Beattie Place
                                                                     Suite 110
                                                                     Greenville, SC 29601
                                                                     For Inquiries: (800) 365-7107


                                                                                                                                     Analysis Date:                                              May 07, 2018
        DIRK MORRISON                                                                                                                Loan:                   1270
        KIRK MORRISON
        551 S Kellogg Rd                                                                                                             Property Address:
        Howell MI 48843                                                                                                              551 Kellogg
                                                                                                                                     Genoa Township, MI 48843




                                                                  Annual Escrow Account Disclosure Statement - Account History
      The following is an overview of your escrow account with Shellpoint Mortgage Servicing. It contains the history of escrow payments made on your
      behalf in the prior year, and a snapshot of the anticipated disbursements for the coming year. Any potential adjustments due to increases or
      decreases with your escrow items may affect your monthly escrow payment. If your escrow payment increases, your monthly payment will also
      increase. If the escrow payment decreases, your mortgage payment will decrease.

Payment Information              Contractual            Effective Jul 01, 2018          Prior Esc Pmt                    July 01, 2017        Escrow Balance Calculation

P & I Pmt:                           $346.95                           $346.95          P & I Pmt:                           $346.95          Due Date:                                            Jan 01, 2017
Escrow Pmt:                          $305.06                           $337.35          Escrow Pmt:                          $324.92          Escrow Balance:                                      ($13,195.77)
Other Funds Pmt:                       $0.00                             $0.00          Other Funds Pmt:                       $0.00          Anticipated Pmts to Escrow:                            $5,491.08
Asst. Pmt (-):                         $0.00                             $0.00          Asst. Pmt (-):                         $0.00          Anticipated Pmts from Escrow (-):                        $142.04
Reserve Acct Pmt:                      $0.00                             $0.00          Resrv Acct Pmt:                        $0.00

Total Payment:                       $652.01                           $684.30          Total Payment:                       $671.87          Anticipated Escrow Balance:                           ($7,846.73)


Shortage/Overage Information                                      Effective Jul 01, 2018           Cushion Calculation: Because Shellpoint Mortgage Servicing does not set your tax
                                                                                                   amounts or insurance premiums, your escrow balance contains a cushion of $629.77.
Upcoming Total Annual Bills                                                   $3,778.62
Required Cushion                                                                                   A cushion is an additional amount of funds held in your escrow in order to prevent the
                                                                                $629.77
Required Starting Balance                                                      $2,092.93           balance from becoming overdrawn when an increase in the disbursement amount
Escrow Shortage                                                              ($9,939.66)           occurs. Your lowest monthly balance should not be below $629.77 or 1/6 of the
Surplus                                                                            $0.00           anticipated payment from the account.



      This is a statement of actual activity in your escrow account from July 2017 to June 2018. Last year's anticipated activity (payments to and from
      your escrow account) is next to the actual activity.
                              Payments to Escrow                          Payments From Escrow                                                              Escrow Balance
          Date                Anticipated              Actual             Anticipated          Actual                     Description                       Required                 Actual
                                                                                                                   Starting Balance                           $2,076.62           ($11,703.13)
        Jul 2017                     $312.85                                      $71.02                $71.02 *   Lender Placed Hazard                       $2,318.45           ($11,774.15)
        Aug 2017                     $312.85                                      $71.02                $71.02 *   Lender Placed Hazard                       $2,560.28           ($11,845.17)
        Aug 2017                                                                                     $1,970.12 *   Town Tax                                   $2,560.28           ($13,815.29)
        Sep 2017                     $312.85                                  $1,955.44                        *   Town Tax                                    $917.69            ($13,815.29)
        Sep 2017                                                                 $71.02                 $70.06 *   Lender Placed Hazard                        $846.67            ($13,885.35)
        Oct 2017                     $312.85                                     $71.02                        *   Lender Placed Hazard                       $1,088.50           ($13,885.35)
        Nov 2017                     $312.85               $305.06               $71.02                 $71.02 *   Lender Placed Hazard                       $1,330.33           ($13,651.31)
        Nov 2017                                                                                        $70.06 *   Lender Placed Hazard                       $1,330.33           ($13,721.37)
        Dec 2017                     $312.85                                     $946.47              $956.26 *    Town Tax                                    $696.71            ($14,677.63)
        Dec 2017                                           $305.06                $71.02                       *   Lender Placed Hazard                        $625.69            ($14,372.57)
        Jan 2018                     $312.85               $305.06                $71.02                $71.02 *   Lender Placed Hazard                        $867.52            ($14,138.53)
        Jan 2018                                                                                        $71.02 *   Lender Placed Hazard                        $867.52            ($14,209.55)
        Feb 2018                     $312.85               $305.06                $71.02                       *   Lender Placed Hazard                       $1,109.35           ($13,904.49)
        Mar 2018                     $312.85               $305.06                $71.02                $65.38 *   Lender Placed Hazard                       $1,351.18           ($13,664.81)
        Apr 2018                     $312.85               $305.06                $71.02                $71.02 *   Lender Placed Hazard                       $1,593.01           ($13,430.77)
        May 2018                     $312.85               $305.06                $71.02                $70.06 *   Lender Placed Hazard                       $1,834.84           ($13,195.77)
        Jun 2018                     $312.85                                      $71.02                       *   Lender Placed Hazard                       $2,076.67           ($13,195.77)
                                                                                                                   Anticipated Transactions                   $2,076.67           ($13,195.77)
        May 2018                                         $5,186.02 P                                    $71.02     Lender Placed Hazard                                            ($8,080.77)
        Jun 2018                                          $305.06 P                                     $71.02     Lender Placed Hazard                                            ($7,846.73)
                                   $3,754.20             $7,626.50            $3,754.15              $3,770.10
      An asterisk (*) indicates a difference from a previous estimate either in the date or the amount. If you want a further explanation, please call our toll-free number.
      P - The letter (P) beside an amount indicates that the payment or disbursement has not yet occurred but is estimated to occur as shown.




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                                                           Shellpoint Mortgage Servicing                                                                 Final
                                                           For Inquiries: (800) 365-7107


                                                                                                                        Analysis Date:                                                 May 07, 2018
                                                                                                                        Loan:                  1270

                                                  Annual Escrow Account Disclosure Statement - Projections for Coming Year
 This is an estimate of activity in your escrow account during the coming year based on payments anticipated to be made to and from your account.

      Date                     Anticipated Payments                                                                                                  Escrow Balance
                              To Escrow          From Escrow                   Description                                                 Anticipated                  Required
                                                                               Starting Balance                                                ($7,846.73)                 $2,092.93
   Jul 2018                       $314.89                $71.02                Lender Placed Hazard                                            ($7,602.86)                 $2,336.80
   Aug 2018                       $314.89                $71.02                Lender Placed Hazard                                            ($7,358.99)                 $2,580.67
   Sep 2018                       $314.89             $1,970.12                Town Tax                                                        ($9,014.22)                  $925.44
   Sep 2018                                              $71.02                Lender Placed Hazard                                            ($9,085.24)                  $854.42
   Oct 2018                       $314.89                $71.02                Lender Placed Hazard                                            ($8,841.37)                 $1,098.29
   Nov 2018                       $314.89                $71.02                Lender Placed Hazard                                            ($8,597.50)                 $1,342.16
   Dec 2018                       $314.89              $956.26                 Town Tax                                                        ($9,238.87)                  $700.79
   Dec 2018                                              $71.02                Lender Placed Hazard                                            ($9,309.89)                  $629.77
   Jan 2019                       $314.89                $71.02                Lender Placed Hazard                                            ($9,066.02)                  $873.64
   Feb 2019                       $314.89                $71.02                Lender Placed Hazard                                            ($8,822.15)                 $1,117.51
   Mar 2019                       $314.89                $71.02                Lender Placed Hazard                                            ($8,578.28)                 $1,361.38
   Apr 2019                       $314.89                $71.02                Lender Placed Hazard                                            ($8,334.41)                 $1,605.25
   May 2019                       $314.89                $71.02                Lender Placed Hazard                                            ($8,090.54)                 $1,849.12
   Jun 2019                       $314.89                $71.02                Lender Placed Hazard                                            ($7,846.67)                 $2,092.99
                                $3,778.68             $3,778.62
 (Please keep this statement for comparison with the actual activity in your account at the end of the escrow accounting computation year.)

 Your ending balance from the last month of the account history (escrow balance anticipated) is ($7,846.73). Your starting
 balance (escrow balance required) according to this analysis should be $2,092.93. This means you have a shortage of $9,939.66.
 This shortage may be collected from you over a period of 12 months or more unless the shortage is less than 1 month's
 deposit, in which case we have the additional option of requesting payment within 30 days. We have decided to collect it over 12 months.
 We anticipate the total of your coming year bills to be $3,778.62. We divide that amount by the number of payments expected during the coming year
 to obtain your escrow payment.
   New Escrow Payment Calculation                                                            Paying the shortage: If your shortage is paid in full, your new monthly payment will
                                                                                             be $661.84 (calculated by subtracting the Shortage Amount to the left and
   Unadjusted Escrow Payment                                                $314.89
   Surplus Reduction:                                                                        rounding, if applicable). Paying the shortage does not guarantee that your
                                                                               $0.00
   Shortage Installment:                                                     $22.46          payment will remain the same, as your tax or insurance bills may have changed.
   Rounding Adjustment Amount:                                               $0.00

   Escrow Payment:                                                         $337.35

TO THE EXTENT YOUR OBLIGATION HAS BEEN DISCHARGED, DISMISSED OR IS SUBJECT TO AN AUTOMATIC STAY OF BANKRUPTCY ORDER UNDER TITLE 11 OF THE UNITED STATES CODE, THIS
NOTICE IS FOR COMPLIANCE AND INFORMATION PURPOSES ONLY AND DOES NOT CONSTITUTE A DEMAND FOR PAYMENT OR ANY ATTEMPT TO COLLECT ANY SUCH OBLIGATION.




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